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                             UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF NEW YORK

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                                      :
 State of New York,                   :
                                      :
                     Plaintiffs,      :                 Case No. 1:18-cv-2921 (JMF)
                                      :
                     v.               :                 Motion for Admission Pro Hac Vice
                                      :
 U.S. Department of Commerce, et al., :
                                      :
                     Defendants,      :
                                      :
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   Pursuant to Local Rule 1.3 of the Local Civil Rules of the United States District Courts for

the Southern and Eastern Districts of New York, I, Andrew J. Pincus, hereby move this Court for

an order for admission to practice Pro Hac Vice to appear as counsel for amici curiae former

Directors of the U.S. Census Bureau Vincent P. Barabba, Martha Farnsworth Riche, Kenneth

Prewitt, Steven H. Murdock, and Robert M. Groves, in the above-captioned action.

   I am a member of good standing of the bars of the State of New York and of the District of

Columbia, and there are no pending disciplinary proceedings against me in any state or federal

court. Certificates of Good Standing from the Supreme Court of the State of New York, First

Judicial Department, and the District of Columbia Court of Appeals are attached as Exhibit A.

My Declaration in Support of my Motion for Admission Pro Hac Vice is attached as Exhibit B.

                                             Respectfully Submitted,

Dated: Novemeber 2, 2018                    /s/ Andrew J. Pincus
                                            Andrew J. Pincus
                                            MAYER BROWN LLP
                                            1999 K Street N.W.
                                            Washington, D. C. 20006
                                            Phone: (202) 263-3220



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                            Fax: (202) 263-5220
                            E-mail: apincus@mayerbrown.com




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           EXHIBIT B
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                              UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF NEW YORK

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                                      :
 State of New York,                   :
                                      :                   Case No. 1:18-cv-2921 (JMF)
                     Plaintiffs,      :
                                      :                   Hon. Jesse M. Furman
                     v.               :
                                      :
 U.S. Department of Commerce, et al., :
                                      :
                     Defendants,      :
                                      :
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               DECLARATION OF ANDREW J. PINCUS IN SUPPORT OF
                    MOTION FOR ADMISSION PRO HAC VICE

        I, Andrew J. Pincus, hereby declare under penalty of perjury, pursuant to 28 U.S.C. § 1746,

that:

        1.      I am a member in good standing of the bars of the State of New York and the
        District of Columbia.

        2.     I attach certificates of good standing from the Supreme Court of the State of New
        York, First Judicial Department, and the District of Columbia Court of Appeals, both of
        which were issued within thirty days of this filing, as Exhibit A to my Motion for
        Admission Pro Hac Vice.

        3.     There are no pending disciplinary proceedings against me in any state or federal
        court.

        4.     I have never been convicted of a felony.

        5.     I have never been censured, suspended, disbarred or denied admission or
        readmission by any court.

        6.     I declare under penalty of perjury that the foregoing is true and correct.

        Dated: November 2, 2018.

                                                             /s/ Andrew J. Pincus__
                                                             ANDREW J. PINCUS
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                              UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF NEW YORK

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                                      :
 State of New York,                   :
                                      :                Case No. 1:18-cv-2921 (JMF)
                     Plaintiffs,      :
                                      :                [PROPOSED] ORDER ON MOTION TO
                     v.               :                PRACTICE PRO HAC VICE
                                      :
 U.S. Department of Commerce, et al., :
                                      :
                     Defendants,      :
                                      :
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          The motion of Andrew J. Pincus for admission to practice Pro Hac Vice in the above

   captioned action is granted.

          Applicant has declared that he is a member in good standing of the bars of the State

   of New York and of the District of Columbia; and his contact information is as follows:

          Andrew J. Pincus
          MAYER BROWN LLP
          1999 K Street N.W.
          Washington, D. C. 20006
          Phone: (202) 263-3220
          Fax: (202) 263-5220
          E-mail: apincus@mayerbrown.com

          Applicant having requested admission Pro Hac Vice to appear for all purposes as

   counsel for amici curiae former Directors of the U.S. Census Bureau Vincent P. Barabba,

   Martha Farnsworth Riche, Kenneth Prewitt, Steven H. Murdock, and Robert M. Groves the

   above-captioned action;

      IT IS HEREBY ORDERED that Applicant is admitted Pro Hac Vice in the above

   captioned case in the United States District Court for the Southern District of New York. All




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   attorneys appearing before this Court are subject to the Local Rules of this Court, including

   the Rules governing discipline of attorneys.

Dated: _______________________
                                            Hon. Jesse M. Furman




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